   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 1 of 16 PageID #:1534




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 KIMBERLY BARNES-STAPLES,                          )
                                                   )
                                Plaintiff,
                                                   )
                v.                                 )    No. 20 C 3627
 EMILY W. MURPHY, Administrator,                   )    Judge Kendall
 General Services Administration,                  )
                                                   )
                                Defendant.         )

  REPLY IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff Kimberly Barnes-Staples responds to the motion for summary judgment mostly

by complaining about a hiring process that she does not understand. Her argument that the

“guidelines” were not followed is flawed because she is mistaken about the interviewing process.

Her allegations about “lies, shifting justifications, and inconsistencies” are based on a

misapprehension of the hiring process such that none of her claims come close to proving that the

proffered reason for Wittstock’s selection was pretext for race discrimination (she apparently

dropped her sex discrimination and retaliation claims). Even if the court does not deem admitted

many of the defendant’s statements of fact, or strike portions of her declaration, which it should

because Barnes-Staples violated Rule 56.1, her claims fail because she cannot prove pretext.

                                             Argument

       Barnes-Staples’s claim that the second-round interviewers did not comply with the

guidelines, and that the interviewers and decision-maker “lied” and offered inconsistent reasons

for selecting Wittstock, is wrong, mostly because she does not understand the GSA’s hiring

process, and her remaining claims are meritless such that no reasonable jury would find in her

favor. Also, many of her responses to the defendant’s Rule 56.1 statement of facts, parts of her

statement of additional facts and her declaration should be stricken, for the reasons set forth below.
     Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 2 of 16 PageID #:1535




I.      Barnes-Staples Failed to Comply with Local Rule 56.1 and Fed. R. Civ. P. 56(c).

        The court should ignore Barnes-Staples’s fact-dependent arguments that are not supported

by a statement of fact that complies with Rule 56.1, Fed. R. Civ. P. 56(c), or Fed. R. Evid. 602 or

801. As set forth below, many of her paragraphs in her Rule 56.1 statement of additional facts,

her responses to the defendants Rule 56.1 statement, and in her declaration, do not comply with

the rules, and they should therefore be disregarded.

        Summary judgment motions are governed by Rule 56 and Local Rule 56.1, both of which

the court strictly enforces. See, e.g., Ciomber v. Cooperative Plus, Inc., 527 F.3d 635, 643 (7th

Cir. 2008.) Local Rule 56.1 is straightforward and clear; it requires each party opposing a motion

for summary judgment to file: (1) a concise response to each numbered paragraph in the moving

party’s statement, including, in the case of any disagreement, specific citations to the record, and

(2) a separate statement of any additional facts, including reference to affidavits and other evidence

relied upon. LR 56.1(b)(3). The rule “provides the only acceptable means of disputing the other

party’s facts and of presenting additional facts to the district court.” Midwest Imports, Ltd. v.

Coval, 71 F.3d 1311, 1317 (7th Cir. 1995); Malec v. Sanford, 191 F.R.D. 581, 584 (N.D. Ill. 2000)

        Furthermore, the court “deems a fact admitted if one party supports that fact with

admissible evidence and the other party fails to controvert the fact with citation to admissible

evidence.” Kaminski v. Napolitano, No. 07 C 3405, 2009 WL 1891799, at *1 (N.D. Ill. June 30,

2009) (citing Ammons v. Aramark Uniform Services, Inc., 368 F.3d 809, 817-18 (7th Cir. 2004);

Cracco v. Vitran Exp., Inc., 559 F.3d 625, 632 (7th Cir. 2009) (quoting LR 56.1(a)(3)). And the

court “may disregard statements and responses that do not properly cite to the record.” In re First

Farmers Fin. Litig., No. 14 CV 7581, 2017 WL 6026652, at *2 (N.D. Ill. Dec. 5, 2017) (citing

Cichon v. Exelon Generation Co., LLC, 401 F.3d 803, 809–810 (7th Cir. 2005)). Also, where the

defendant moves for summary judgment, “facts presented only in response to a defendant’s
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   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 3 of 16 PageID #:1536




statement of facts, but not in the plaintiff’s own statement of additional facts are improper because

the defendant has no mechanism to reply or otherwise dispute them.” Wilcox v. Allstate Corp.,

No. 11 C 814, 2012 WL 6569729, at *6 (N.D. Ill. Dec. 17, 2012)(internal citations omitted).

       Here, Barnes-Staples’s responses to the defendant’s statement of facts are not simple or

concise denials supported by the record. See e.g., Plaintiff’s Response to the Defendant’s Rule

56.1 Statement of Facts, ¶¶ 4, 5, 7, 9, 10, 11, 15 (in part), 16, 18–29, 38– 40, 42, 43, 45, 47–49,

51, 53, 54. Instead, she improperly inserts conclusory assertions, conjecture, additional facts, and

argumentative denials without citations to specific evidentiary materials. Trimble v. All.-

DeKalb/Rock-Tenn Co., 801 F. Supp. 2d 764, 768 (N.D. Ill. 2011). Many of her responses include

additional facts that should have been included in her additional facts, not responses, which is

improper because “facts presented only in response to a defendant’s statement of facts, but not in

the plaintiff’s own statement of additional facts are improper because the defendant has no

mechanism to reply or otherwise dispute them.” Wilcox, No. 11 C 814, 2012 WL 6569729, at *6

(N.D. Ill. Dec. 17, 2012). The court should ignore the responses that violate Rule 56.1. Id.

       Furthermore, several paragraphs of Barnes-Staples’s additional facts and declaration

should be ignored. Under Rule 56(c), an affidavit or declaration used to oppose a motion for

summary judgment must “be made on personal knowledge, set out facts that would be admissible

in evidence, and show that the affiant or declarant is competent to testify on the matters stated.”

Trimble, 801 F. Supp. 2d at 768. Rule 602 similarly states that a “witness may not testify to a

matter unless evidence is introduced sufficient to support a finding that the witness has personal

knowledge of the matter.” Fed. R. Evid. 602. Id. Accordingly, in an affidavit opposing summary

judgment, “[c]onclusory allegations, unsupported by specific facts, will not suffice.” Id. citing

Payne v. Pauley, 337 F.3d 767, 773 (7th Cir. 2003). Affidavits are sufficient only “to the extent

that they provide evidence that would be admissible if offered live on the witness stand.”
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      Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 4 of 16 PageID #:1537




Nedzvekas v. LTV Copperweld, 356 F.Supp.2d 904, 908 (N.D. Ill. 2005). Additionally, “although

personal knowledge may include reasonable inferences, those inferences must be grounded in

observation or other first-hand personal experience. They must not be flights of fancy,

speculations, hunches, intuitions, or rumors about matters remote from that experience.” Trimble,

801 F. Supp. 2d at 768, citing Payne, 337 F.3d at 773. Here, several paragraphs of Barnes-

Staples’s declaration should be ignored for lack of foundation or because they contain hearsay,

including paragraphs 6, 8, 9 in part, 10 and 13. Her statement of additional facts that rely on

inadmissible evidence should also be ignored, including paragraphs 3, 8, 12, 14, 31, 33 in part, and

35 in part.

II.      No Pretext.

          Even if the court considers the improper Rule 56.1 responses, statements of fact, and

declaration (it should not), Barnes-Staples cannot prove pretext. She concedes that she was not

clearly more qualified for the director position under the “Millbrook standard.” Mem. at 6–7;

Millbrook v. IBP, Inc., 280 F.3d 1169, 1180 (7th Cir. 2002). Instead, relying on Rudin v. Lincoln

Land Cmty. Coll., 420 F.3d 712, 720–21 (7th Cir. 2005), she points to “bits and pieces” of

“circumstantial evidence,” which supposedly show that the hiring process was “tainted,” and that

the second-round interviewers cannot be believed such that a jury might therefore find “an

inference of discriminatory intent.” Rudin, 420 F.3d 712, 720 - 21 (7th Cir. 2005); Mem. at 1, 7.

Barnes-Staples’s claims are unsupported, and her case is easily distinguishable from Rudin.

          As the court in Rudin makes clear, the “pertinent question in a Title VII case is not whether

a plaintiff has direct (including circumstantial) or indirect proof of discrimination, but whether she

has presented sufficient evidence that her employer’s decision was motivated by an impermissible

purpose.” Rudin, 420 F.3d at 720 (7th Cir. 2005), citing Logan v. Kautex Textron N. Am., 259 F.3d

635, 638 (7th Cir. 2001); Kolasa v. Dunkin’ Donuts Midwest Distrib. Ctr., Inc., No. 08 C 3534,
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   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 5 of 16 PageID #:1538




2009 WL 1904345, at *5 (N.D. Ill. July 1, 2009). “A plaintiff cannot raise a genuine issue if the

evidence shows only that the employer made a wrong assessment of the applicant.” U.S. E.E.O.C.

v. Target Corp., 460 F.3d 946, 960 (7th Cir. 2006), citing Millbrook, 280 F.3d at 1175. “Instead,

the plaintiff must present evidence that supports an inference that the employer was intentionally

dishonest when it gave its nondiscriminatory reason for rejecting the applicant.” Id. So long as

the decision-maker genuinely believed that the selectee was better qualified for the job, the

employer “is entitled to act on that belief.” Blise v. Antaramian, 409 F.3d 861, 867–68 (7th Cir.

2005). Here, there is no evidence that decision-maker Green did not honestly believe that

Wittstock was more qualified for the director position.

        A. The Process Was Not “Tainted.”

        First, this case is not remotely like Rudin. There, a white professor claimed race

discrimination after she was passed over for a tenure-track position in favor of a black candidate

after an explicitly “race-conscious hiring process” involving several applicants and

decisionmakers. Ruden 420 F.3d at 721. The successful candidate was not even initially among

those selected for an interview but was inserted into the interview list to ensure “diversity among

the interviewees,” such that the candidate bypassed the entire first round of elimination. Id. at 716,

722. After the interviews, the plaintiff was ranked second highest among the candidates, while the

selectee was ranked second from the bottom. Id. Also, the head of the screening committee told

the plaintiff that the successful candidate “was not more qualified” than she was, and that the

committee was under “administrative pressure” to select the chosen candidate. The university’s

president disputed that there was any pressure and told the plaintiff that the committee head was

“lying” and that “there was a problem with the process, the way the hiring was done.” Id. at 717-

18. Based on those facts, including the university’s explicitly race-conscious hiring process and

the selectee’s insertion “into the interview pool based on his race,” the court concluded that the
                                                  5
   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 6 of 16 PageID #:1539




defendant deviated from its hiring practices so much that there was a “systematic abandonment of

its hiring policies,” such that an inference of discrimination could be drawn that entitled the

plaintiff to a jury trial. Id. at 723.

         Here, on the other hand, selectee Wittstock: (1) was not “inserted” into the hiring process

based on her race, (2) was not ranked near the bottom of those who made it to the final second-

round interview (in fact, she was ranked at the top), and (3) no one involved in the hiring process

offered an alternative reason for Wittstock’s selection. Wittstock scored the highest in the first

and only scoring round such that the process could have ended there, since there was such a

disparity between the scores with Wittstock scoring well above the others, such that only Wittstock

would have been referred to the final second-round interview. DSF ¶¶ 8–10; Defendant’s

Response to Plaintiff’s Rule 56.1 Statement of Additional Facts (“DRPSF”), ¶ 23. Also, unlike in

Rudin, the second-round interviewers here, including decision-maker Green, provided the same

reason for Wittstock’s selection, as set forth in our opening brief at 5–6. In any event, Barnes-

Staples’s false claim that the guidelines were violated is based on her misunderstanding of the

hiring process, as set forth below.

         The Guidelines.

        The GSA’s “guidelines” provide for two types of interviews for filing a vacancy: a

“screening interview” and a “selection interview.” DRPSF ¶ 22. A “screening interview” may be

necessary when “there are numerous candidates in the highest quality category and the number

referred for selection consideration must be more manageable, or when filling highly technical

positions.” Id. “It is not always necessary to conduct a screening interview.” Id. A “selection

interview” is conducted “to provide the selecting official or hiring manager with more specific

information about each candidate’s job-related competencies upon which the selection decision

will be made.” Id.
                                                 6
   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 7 of 16 PageID #:1540




        In April 2016, then PBS Deputy Commissioner Michael Gelber issued a directive stating

that for higher level positions, including GS-15 positions, the Assistant Commissioner “of the

business line associated with that Division [here, PBS] will participate on the final interview

panel.” DRPSF ¶¶ 22, 23, 26. After the final interview, the “hiring” Assistant Commissioner

(“AC”) or the Regional Commissioner (“RC”) “will notify the Deputy Commissioner and Chief

of Staff when a selection has been made and provide a brief description of the selectee.” Id. Next,

the “Commissioner’s Office will review the selection and hold discussions with the hiring” AC or

RC, as appropriate.    Id. “Once the hiring AC/RC receives approval from the Commissioner’s

Office, the AC/RC may contact the local human resources representative in order to proceed with

a tentative job offer for the selectee.” Id.

        Here, GSA correctly followed its hiring process for the GS-15 position as follows: the

number of applicants was “manageable,” so, as set forth in our opening brief (at 2-3), GSA’s

human resources department screened the candidates by reviewing the written applications rather

than conducting “screening” interviews. DRPSF ¶¶ 15, 22; DSF ¶ 5. HR then created a list of

five qualified candidates who were referred for a first round (“selection”) interview; appropriate

questions based on the “competencies” were developed; a rating system was created; and

candidates were interviewed. DSF ¶¶ 5 – 10.; DRPSF ¶ 22. Wittstock scored the highest and

Barnes-Staples scored third out of five. Id.

        The first-round panel could have recommended only Wittstock for the final interview since

her score was so much higher than the others; however, since Matt Poisson had been the Acting

Director for a year and a half, the interviewers decided to establish the scoring cut-off for the final

interview so that Poisson would be included, which necessarily also included Barnes-Staples since

her score was slightly (3.15/3.10) better than Poisson’s. DSF ¶¶ 9, 10; DRPSF ¶ 23. In other

words, the only reason Barnes-Staples even made it to the second and final round is because the
                                                  7
   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 8 of 16 PageID #:1541




GSA wanted Poisson to be interviewed in the second round (despite his lower-than-Wittstock

score) since he had been acting in the director position for a year and a half. Id.

       Because the selection was for a grade GS-15 or higher position, final interviews were then

conducted, pursuant to the 2016 Gelber directive, by a panel that included selecting official Green,

RC Cooke, and PBS Acting Deputy Commissioner Azevedo. DSF ¶¶ 12–15; DRPSF ¶¶ 22 - 29.

Once the second-round final interviews were concluded, and after the panel members discussed

the candidates, Green selected Wittstock; RC Cooke forwarded the selection to Deputy

Commissioner Gelber for approval; and Gelber approved the selection, with the concurrence of

Acting DC Azevedo, as required by the 2016 Gelber directive. Id.; DSF ¶¶ 19 – 28.

       Barnes-Staples misapprehends the process entirely. She mistakenly ignores the entire first

round “selection interview,” and instead focuses on the second final round, when she complains

that the interviewers did not follow the “guideline.” Mem. at 7. That mistake defeats her

“guidelines” argument because her claim that the second-round interviewers did not ask proper

questions, take into consideration her experience or background, establish a rating scale, or arrive

at a unanimous consensus can easily be rejected because the GSA was not required to take any of

those actions in the final round (they mostly did anyway) since the first round “selection interview”

panel already met all those requirements. DSF ¶¶ 5 – 10; DRPSF ¶¶ 15, 22–30. Also, the second-

round interviewers considered the experiences and skills of the final candidates, including Barnes-

Staples, anyway through the candidates’ answers to the questions before coming to a consensus

that Wittstock was the selectee. DSF ¶¶ 12–28. Decision-maker Green then properly submitted

his selection through RC Cooke to Deputy Commissioner Gelber, who approved the selection.

       Even if there had been procedural missteps (there were none here), those failings would

have to have been more than simply technical violations of a hiring guideline or policy to warrant

consideration here. As another judge of this court explained: cases “like Rudin and two similar
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   Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 9 of 16 PageID #:1542




cases decided by me involve blatant or systemic deviations from essential personnel rules or

concealment of facts which underlie the decision,” or where “a competitive process for a

supervisory position was mangled so badly that the original person given the job lacked the

qualifications set forth in the job description and there was direct evidence of racial/gender bias in

the workplace.” Gibbons v. JP Morgan Chase & Co., No. 04 C 5368, 2007 WL 118226, at *4

(N.D. Ill. Jan. 10, 2007); Hanners v. Trent, 674 F.3d 683, 695 (7th Cir. 2012)(“we conclude that

the minor deviation from written policy is insufficient to avoid summary judgment.”) Barnes-

Staples has not shown any deviation from the GSA’s hiring guidelines or from the 2016 Gelber

directive, much less show that there was a “systematic abandonment of its hiring policies.” Ruden

420 F.3d at 722.

       Barnes-Staples also misstates the evidence. She falsely claims that the guidelines “clearly

prohibit” asking “interview questions focused on a specific issue in the division” (Mem. 8–9),

when in fact the guideline actually states: be “mindful that the questions do not assess a

competency that is expected to be learned on the job. For example, do not ask candidates how

they would handle a situation that is covered by a specific internal policy or procedures that will

be introduced on the job.” DRPSF ¶ 19. Aside from the fact that the first-round interview

questions easily met this requirement, nothing in the guideline prohibits the second-round

interviewers from asking, for example, the candidates’ plan for meeting the challenges in the

division or asking how they would meet the challenge of increasing leasing standards by 50%

(which should have been an easy one for Barnes-Staples since she has a “leasing warrant”). DSF

¶ 13. Also, if Barnes-Staples is complaining that she was unaware of the challenges of the division

because she had not worked in the division for over ten years, it was incumbent on her to learn

about the challenges before her interview so she could answer the questions. Mem. at 8–9.



                                                  9
  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 10 of 16 PageID #:1543




       Barnes-Staples also claims (Mem. at 8–9) that “the telling twist” is that “this question” (she

does not say which question she is referring to) “made Wittstock’s selection a foregone

conclusion” because Wittstock worked in the division while Barnes-Staples did not. That is

obviously not true (not that there’s anything wrong with having specifically applicable

experience). If anything, candidate Poisson, who was performing the duties of the position as the

acting director for a year and a half, would be a “foregone conclusion” if selected since he was in

the job as the acting director. DSF ¶ 17. The bottom-line is that Wittstock simply answered the

final interview questions more thoroughly, which demonstrated that she had the experience and

skills to perform the job better than the other candidates, and Barnes-Staples has no evidence to

the contrary. Accordingly, no reasonable jury would infer discriminatory intent based on the

questions that were asked in either the first or the second-round interviews. (It of course does not

matter if the jury would have its own opinions on how best to conduct the interviews.)

       Second, Barnes-Staples’s argument (Mem. at 9, 14) that the process was unfair because the

interviewers did not give her more credit for her “MBA” is, as we stated in our opening brief (at

12), belied by her admission that education was not a requirement for the position. First, this court

of course is not a super-personnel department charged with making the process fair, Ajayi v.

Aramark Bus. Servs., 336 F.3d 520, 532 (7th Cir. 2003); the question is whether there was

intentional discrimination. Her attempt to make education a requirement by pointing to the

educational backgrounds of the interviewers, some of whom (Cooke, Juarez and Green) have

MBAs (Mem. at 9), fails because the interviewers were not applying for the Real Estate Director

position. If she is trying to show that Cooke, Juarez, or Green were treated differently, she offers

no evidence that the GS-15 positions held by them did not require an MBA, like the real estate

director position, but that their degrees were counted anyway during the hiring process for their

positions. Besides, as we stated earlier, Poisson, a white male, also has an MBA, and he was not
                                                 10
  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 11 of 16 PageID #:1544




selected either, which shows that education was not a requirement for the position. GSA Mem. at

12.   Barnes-Staples’s citation to the current GSA website (Mem. at 9) for recruitment proves

nothing except that the GSA does not discriminate.

       Barnes-Staples’s claim (Mem. at 10) that her “experience and proficiency” were

“disregarded” is unsupported and false. She points to a 2018 email from interviewer Azevedo

regarding a different job where Azevedo referenced the selectee’s “past performance, the

significance of the work they currently manage, and their ability to achieve outstanding results,”

as if that has any relevance to hiring for the position here. Mem. at 10. Besides, the interviewers

(both first and second round) considered past experiences and ability to achieve outstanding results

when they found, based on the interview responses, that Wittstock scored the highest in the first

round and that, in the second round, her interview examples, questioning, and depth of knowledge

regarding the ability to transform and change how leasing is done, and how the division is managed

and operates, was superior to all the other candidates. DSF ¶¶ 5 - 22.

       Third, Barnes-Staples complains that a “rating scale” was not developed before the second-

round interviews were conducted but, again, she misapprehends the process. Mem. at 10. The

guidelines required that a rating scale be established in the “selection interview,” which it was

when the first-round panel graded each answer on a scale of 1 to 5, with 5 being the highest rating

and then ranked the candidate’s consensus scores from highest to lowest with Wittstock scoring

the highest at 3.9, while Barnes-Staples, with a score of 3.15, was ranked third of the five

candidates. DSF ¶¶ 8 – 9.

       Even if a rating scale were required for the second-round interview, which it was not, as

set forth above, Barnes-Staples provides no basis for concluding that by not developing a second

rating scale, the process somehow discriminated against her based on her race, or that it resulted

in a “systematic abandonment” of GSA’s “hiring policies.” Oseman-Dean v. Illinois State Police,
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  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 12 of 16 PageID #:1545




No. CIV.A. 11 C 1935, 2012 WL 1280226, at *12 (N.D. Ill. Apr. 2, 2012)(“plaintiff must develop

a link between the irregularities and possible discrimination”) citing Everett v. Cook County, 655

F.3d 723, 728 (7th Cir. 2011). And there is no evidence that had a second-round rating system

been used, Barnes-Staples would have come out on top. (And again, whether better or fairer

procedures could have been used is irrelevant unless there is evidence of illegal discrimination.)

       Last, Barnes-Staples complains that a “unanimous consensus” was not reached because

Azevedo did not “specifically recommend the top candidate,” that she supposedly never “provided

input into who she thought was the most qualified,” and that she claimed she never “agreed with

Wittstock being the candidate.” Mem. at 9–10. But the first-round interviewers reached a

unanimous consensus and scored the candidates, and as explained above, Azevedo’s role was not

to “recommend” or “select” anyone, rather she was there because the 2016 Gelber directive

required her to participate in the process. DRPSF ¶¶ 22–30.

       Regardless, Barnes-Staples undermines her argument because, on the one hand, she

complains that Azevedo worked closely with Wittstock and was therefore biased toward her

(Mem. at 12), yet on the other hand, she argues that Azevedo did not agree that Wittstock would

be selected prior to the selection. Mem. at 10–11. If Azevedo were biased toward Wittstock, she

obviously would have concurred in the selection. In any event, Azevedo was not biased toward

anyone, and as the 2016 Gelber directive required, she participated in the final round of interviews,

asked questions during the interviews, discussed each candidate with Green and Cooke, and

concurred in the selection of Wittstock, and Barnes-Staples provides no evidence to the contrary.

DSF ¶¶ 12–19, 28; DRPSF ¶¶ 22–30.

        B. “Lies, Shifting Justifications, and Inconsistencies.”

       Barnes-Staples faults the second-round interviewers, claiming they “lied” and provided

“shifting justifications” and inconsistent reasons for selecting Wittstock, when in fact, it is Barnes-
                                                  12
  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 13 of 16 PageID #:1546




Staples who should be faulted for not understanding the hiring process. Mem. at 11 – 13. She

falsely accuses “Azevedo” of “lying” when Azevedo testified that she did not “recommend”

Wittstock for the position while Cooke and Green testified that they all came to a consensus that

Wittstock would be selected. Mem. at 11–12. “Recommending” a candidate and coming to a

“consensus” are clearly two different processes. As the record makes clear, Azevedo’s role was

to participate in the interview and concur, or not, in the final selection (she concurred in selecting

Wittstock.) DRPSF ¶¶ 22 – 30. Her role was not to “recommend” or “select” anyone; that is the

role of the selecting official, Green. Id.; DSF ¶¶ 19 – 20.

       Next, Barnes-Staples falsely claims that Green was not the “ultimate decisionmaker”

because “Azevedo and Cooke testified that Robert Green and the regional commissioner Gelber”

were the final decision-makers. Mem. at 12. Barnes-Staples gets lost in semantics and titles. First,

Gelber was the PBS Deputy Commissioner at the time, not the Regional Commissioner. DRPSF

¶ 29. Second, as the 2016 Gelber directive required, Green, as the selecting official, notified

Regional Commissioner Cooke of his selection, and Cooke in turn notified Deputy Commissioner

Gelber of the selection. DRPSF ¶¶ 22 - 30. Gelber then approved the selection and the offer was

made to Wittstock by the human resources department, as required by the 2016 Gelber directive.

Id.

       Barnes-Staples does not explain how any of this is relevant to her discrimination claim

and, in any event, it does not suggest that anyone “lied.” If anything, it shows that Barnes-Staples

does not understand the hiring process or the organizational structure at the GSA, despite having

worked for the GSA for almost 30 years (DSF ¶ 3).

       Barnes-Staples’s remaining arguments are equally meritless. She complains that not

currently working in the real estate division should not be counted against her because Azevedo

testified that GSA hires people into positions that are from outside GSA, but Barnes-Staples misses
                                                 13
  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 14 of 16 PageID #:1547




the point. Mem. at 12. First, this argument has nothing to do with discrimination. In any event,

her lack of recent real estate division experience was evident in her less-than-thorough answers to

the second-round interview questions, and in her apparent misunderstanding of the challenges

facing the division. DSF ¶¶ 16 – 28.

       Barnes-Staples’s complaint (Mem. at 13) that she was not qualified for the job in a “prior

promotion” because she lacked the technical background while, for the promotion at issue here,

she was not promoted due to technical knowledge, is undeveloped, at best. How this director job

relates to the other promotion and what technical skills were at issue in each position obviously

matters, yet Barnes-Staples provides no facts or analysis to show that the two jobs are even equal,

much less explain that she was somehow subjected to “shifting justifications.” Mem. at 13.

Similarly, she challenges interviewer Cooke’s assessment of the answers to the final interview

questions, but her complaint is based solely on her bald allegations and opinions, not facts or

evidence. Id. Besides, Cooke, a Black male, is the same race as Barnes-Staples. DSF ¶¶ 12, 49.

        Barnes-Staples also complains that the selection was “subjective,” and that the GSA

ignored the “objective” evidence, including her “MBA” (which she obtained about 30 years ago).

Mem. at 14 – 15. As set forth above, education was “objectively” not a requirement for the director

position, as Barnes-Staples even admits. DSF ¶ 43. Also, GSA followed the guideline and

properly conducted structured interviews that are designed to be as objective as possible. DSF ¶

7. Regardless, subjectivity is an inherent part of the interviewing process. As the Seventh Circuit

has held, this “court has also never held that a job interview must be scored according to some sort

of objective criteria. Quite the contrary.” Blise, 409 F.3d at 868, citing Millbrook, 280 F.3d at

1176 (quoting Sattar v. Motorola, Inc., 138 F.3d 1164, 1170 (7th Cir. 1998) (“[N]othing in Title

VII bans outright the use of subjective evaluation criteria.”). In any event, Barnes-Staples’s



                                                14
  Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 15 of 16 PageID #:1548




conclusory allegations that the decision to select Wittstock was “subjective” and a “mask” for

discrimination (Mem. at 15) is not supported by the record evidence.

       In the end, Barnes-Staples’s arguments amount to petty gripes about a hiring process she

does not understand. She ignores the entire first round interviews because they do not fit with her

theory of the case. Regardless, both rounds of interviews were conducted properly; Green made

his selection, with the concurrence and input of the two other second-round interviewers; and that

selection was approved by the Deputy Commissioner, all in accordance with the guidelines and

the 2016 Gelber directive. Barnes-Staples has no evidence that the process was improper or that

the GSA’s reason for selecting Wittstock cannot be believed.

III.   Barnes-Staples Abandoned Her Remaining Claims.

       Barnes-Staples abandoned her sex discrimination claim, probably because Wittstock is also

female. She also abandons her claim that she was retaliated against, that she was denied a

promotion to a real estate director position in July 2018, and that she was discriminated or

retaliated against based on “other protected classes.” Regardless, she failed to exhaust her

administrative remedies for those claims, and therefore the court should dismiss them, as set forth

in our opening brief. GSA Mem. at 14–15.

                                           Conclusion

       For the foregoing reasons, this court should grant summary judgment for defendant.

                                                     Respectfully submitted,

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Case: 1:20-cv-03627 Document #: 81 Filed: 12/13/21 Page 16 of 16 PageID #:1549




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                                     16
